                      Case 4:20-mj-00589-CFB Document 1 Filed 10/23/20 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                     SouthernDistrict
                                                 __________   Districtofof__________
                                                                           Iowa

                  United States of America                          )
                             v.                                     )
                     Jason Ray Tingley,
                                                                    )      Case No. 4:20-MJ-589
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 September 30, 2020              in the county of                 Polk         in the
     Southern          District of              Iowa            , the defendant(s) violated:

             Code Section                                                     Offense Description
21 USC § 841(a)(1), 841(b)(1)(A)                Possession with Intent to Distribute Methamphetamine
18 USC §§ 922(g)(1), 922(g)(3),                 Felon/drug user in Possession of a Firearm
924(a)(2)
18 USC § 924(c)(1)(A)                           Possession of a Firearm in Furtherance of a Drug Trafficking Crime




         This criminal complaint is based on these facts:
See attached Affidavit




          ✔ Continued on the attached sheet.


         ✔                                                                                     Complainant’s signature

                                                                                 Andrew Becker, Senior Police Officer, DMPD
                                                                                                Printed name and title

         ✔
                                            .

Date:             10/23/2020
                                                                                                  Judge’s signature

City and state:                         Des Moines, Iowa                          Celeste F. Bremer, U.S. Magistrate Judge
                                                                                                Printed name and title
            FILED
            By: Clerk’s Office, Southern District of Iowa
            2:31 pm, Oct 23 2020
